           Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 1 of 14



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

                  v.                                            Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                        Defendant.


                    DEFENDANT’S MOTION FOR BILL OF PARTICULARS

         Pursuant to Rule 7(f) of the Federal Rules of Criminal Procedure, defendant Gregory B.

Craig moves for an order requiring the government to file a bill of particulars. As contemplated

by the scheduling order in this case, Mr. Craig will soon file motions asking the Court to dismiss

this indictment. This motion should not take precedence over those motions.1

I.       INTRODUCTION

         The government’s theory is that Mr. Craig wanted to avoid registration under the Foreign

Agents Registrations Act (FARA), and that he made misstatements and omissions in order to

persuade the FARA Unit that he and his law firm were not required to register.2 Mr. Craig

contends that neither he nor his law firm engaged in any conduct that required FARA

registration, and that he did not mislead the FARA Unit in any way. In fact, Mr. Craig and his



1
  A bill of particulars does not cure a defective indictment. Russell v. United States, 369 U.S. 749, 770 (1962) (“it is
a settled rule that a bill of particulars cannot save an invalid indictment”); United States v. Thomas, 444 F.2d 919,
922 (D.C. Cir. 1971) (explaining that allowing a bill of particulars to cure a defective indictment by identifying an
omitted material fact would “allow the grand jury to indict with one crime in mind and to allow the U.S. Attorney to
prosecute by producing evidence of a different crime”); United States v. Hillie, 227 F. Supp. 3d 57, 81 (D.D.C.
2017).
2
  It was no secret that the Ministry of Justice of Ukraine was the firm’s client. The first sentence in the body of the
report states: “Attorneys from the law firm Skadden, Arps, Slate, Meagher & Flom, LLP (Skadden) have been hired
by the Ministry of Justice of the Government of Ukraine (the Ministry of Justice) to inquire into the evidence and
the procedures used to prosecute Prime Minister Yulia Tymoshenko.”
         Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 2 of 14



law firm did not register under FARA because they believed, after careful consideration of the

issue, that the firm’s work for Ukraine did not require registration.

       In late December 2012 and during 2013, the Department of Justice’s FARA Unit inquired

about the firm’s work for Ukraine and Mr. Craig, with the assistance of others at the firm, wrote

three letters responding to the questions. Eventually, the FARA Unit focused its inquiry on Mr.

Craig’s interaction with the media in December, 2012, when the Tymoshenko report was

released by Ukraine. Mr. Craig argued that his interactions with the media did not require

registration because they were, among other things, intended to correct mischaracterizations

about the report emanating from the Ukraine MOJ and were the antithesis of actions taken “for

or in the interests of” a foreign principal. After a face-to-face meeting on October 9, 2013

(followed by a letter from Mr. Craig the next day), the Chief of the FARA Unit agreed with Mr.

Craig’s argument and informed Skadden it need not register. ECF 1, at ¶ 64.

       Count One of the indictment alleges that Mr. Craig engaged in a “false statements

scheme” in violation of 18 U.S.C. § 1001(a)(1). Count Two alleges that he made false and

misleading statements in violation of the registration and enforcement provisions of FARA, 22

U.S.C. §§ 612 and 618. The allegations focus on two letters from Mr. Craig to the FARA Unit

and the face-to-face meeting between Mr. Craig, law firm colleagues and members of the FARA

Unit on October 9, 2013. With respect to that meeting, the government has no notes of what

occurred and apparently no witness who recalls precisely what was said. There is no recording,

no transcript, and no memorandum describing what occurred during the meeting. Grand jury

testimony reveals that none of the participants at the meeting – either from the FARA Unit or

Mr. Craig’s colleagues from Skadden – have any specific recollection of what was said.




                                                  2
         Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 3 of 14



       Confusion in the evidence as to what was said is replicated in the indictment. In its

various allegations, the indictment jumbles allegations about written statements together with

inferences about oral representations. There is no itemization of what statements are alleged to

be false as opposed to those alleged to be misleading. There is a list of material facts that the

indictment alleges should have been provided to the FARA Unit – ECF 1, at ¶ 63 – but no

information as to the duty that required Mr. Craig to furnish that information and when he should

have done so. With respect to written as well as oral communications alleged to be false, the

indictment is vague, contradictory, and ambiguous.

       Although a bill of particulars cannot remedy the grand jury’s failure to find facts

sufficient to state an offense, it can at least provide notice of the specific facts the government

claims constitute the offense. If the Court concludes, following briefing and argument on the

motions to dismiss, that this case can proceed to trial, it should order a bill of particulars

concerning the allegations set forth below.

II.    ARGUMENT

       A.      A bill of particulars under Rule 7(f) is often warranted in false statement
               cases

       Rule 7(f) provides that “[t]he court may direct the government to file a bill of

particulars.” A district judge has discretion to “determine whether a bill of particulars should be

provided, and the court should grant a motion for a bill of particulars to the extent it believes it is

necessary to allow the defendants to adequately prepare for and avoid surprise at trial.” United

States v. Bazezew, 783 F. Supp. 2d 160, 167 (D.D.C. 2011). Producing information in discovery

is not a substitute for a bill of particulars, because discovery does not commit the government to

the particular facts it proposes to offer at trial to prove the charged offense. See 1 C. Wright et

al., FEDERAL PRACTICE AND PROCEDURE § 130, at 656 (4th ed. 2008) (the function of a bill of


                                                  3
         Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 4 of 14



particulars is to “give the defendant notice of the essential facts supporting the crimes alleged in

the indictment or information, and also to avoid prejudicial surprise to the defense at trial.”).

Courts in this district have not permitted the government to defeat a motion for a bill of

particulars by pointing to discovery it has provided or to an open file policy. United States v.

Anderson, 441 F. Supp. 2d 15, 19 (D.D.C. 2006); see also United States v. Trie, 21 F. Supp. 2d

7, 21 (D.D.C. 1998) (government could not avoid bill of particulars by pointing to list that

included the false statements, but must identify the particular statements alleged to be false, and

what about them was false).

       In a false statements case, “it is insufficient for the government to tell defense counsel

‘the substance’ of what the false statements are or to offer to make a particular witness available

for interview prior to trial.” Anderson, 441 F. Supp. 2d at 19. Instead, courts have ordered the

government to file a bill of particulars that details “precisely which allegedly false statements the

government relies on in each paragraph, the way in which the government alleges them to be

false, and when approximately they were allegedly made.” Id. at 20; see also United States v.

Hsia, 24 F. Supp. 2d 14, 32 (D.D.C. 1998) (after government clarified which statements were

false, court still ordered bill of particulars as to how defendant “caused each of the false

statements to be made”); compare United States v. Manafort, 2018 U.S. Dist. Lexis 105435, at

*5-6 (D.D.C. June 12, 2018) (motion for a bill of particulars denied as moot when government

stated “on the record at the hearing that the statements alleged in Counts IV and V of the

indictment to be false and/or misleading are the sole statements or omissions on which Counts

IV and V are based”). When the government alleges material omissions rather than false

statements, it must identify the material omissions and the duty that required defendant to make

a disclosure. See United States v. Tam, 2017 U.S. Dist. Lexis 141122, at *11-12 (N.D. Cal. Aug.



                                                 4
          Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 5 of 14



31, 2017) (granting motion where indictment did not identify omissions and disclosure

obligation).

        The defense acknowledges that the decision whether to grant a request for greater

particularity is often driven by individual circumstances. The circumstances of this case support

such relief. The indictment was prepared many years after the events in question, and memories

have faded. The government has no written record to elucidate the allegations of false oral

statements – or perhaps to dismantle them – and depends entirely upon the recollections of

participants that are vague, incomplete and unreliable. Despite the self-evident risk of mistake

and misremembering, the government pursues criminal charges alleging that Mr. Craig lied to

the FARA Unit. In such a context, the Court should exercise its discretion and insist on clarity

and particularity. To give the defendant a fair chance to know the charges, to meet the charges

and to prepare his defense, the Court should require the government to be specific and precise in

the details of its allegations.

        B.      The lack of specificity in the indictment warrants a bill of particulars as to
                five paragraphs alleging false or misleading statements or material omissions

        There is, to be sure, great particularity in some aspects of this indictment. Paragraph after

paragraph provides detail about the law firm’s work analyzing the Tymoshenko prosecution and

the form and manner of payment for that work. See ECF 1, at ¶¶ 7-27. This level of detail does

not describe any unlawful act, or even a reason why FARA registration was required.

        The only conduct alleged to be unlawful involves statements and omissions allegedly

made to the FARA Unit in 2013 about the media interaction that occurred in the fall of 2012 as

the Tymoshenko report was issued. But when it comes time to identifying the actual false or

misleading statements, the indictment is vague, cryptic, and confusing. The case law set forth

above establishes that this is precisely the type of charging document that warrants a bill of


                                                 5
         Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 6 of 14



particulars. A defendant cannot adequately prepare a defense to a false statements indictment

unless he knows precisely what statements are alleged to be false, or what facts he allegedly

should have stated but did not disclose, and why he was required to disclose them.

       The Court should order the government to provide a bill of particulars to clarify the

following nonspecific allegations in the indictment.

   1. Allegation. “CRAIG drafted false and misleading descriptions of his media contacts, in
      particular his contacts with Reporter 1 and Reporter 2, for distribution within the Law
      Firm and to the FARA Unit.” ECF 1, at ¶ 50.b.

       Deficiency. Mr. Craig circulated two emails within the law firm that were never sent to

       FARA. ECF 1, at ¶ 59 (Sept. 19, 2013 e-mail sent to Skadden’s general counsel); id. at ¶

       60 (draft response letter to the FARA Unit sent to Skadden’s general counsel). Mr. Craig

       circulated two other draft letters to the FARA Unit that went first to other lawyers within

       the law firm and then were delivered in final form to the FARA Unit. Id. at ¶¶ 55-56

       (describing drafting of June 3, 2013 letter sent to FARA Unit); id. at ¶ 62 (describing

       October 11, 2013 letter sent to FARA Unit). Does the government contend that

       statements circulated solely within the law firm are somehow unlawful under 18 U.S.C. §

       1001(a)(1)? Does the government contend that the allegation in ¶50.b applies to all four

       written communications? Does the government distinguish between statements that are

       “false” and statements that are “misleading”? If so, which are which?

       Particulars required. The government should state precisely which written statements

       drafted by Mr. Craig were false and which were misleading in violation of 18 U.S.C. §

       1001(a)(1).

   2. Allegation. “Under FARA, when responding to the FARA Unit’s inquiries, CRAIG had
      a duty to provide material information and not to willfully make misleading statements or
      omit material facts.” ECF 1, at ¶ 52.



                                                6
     Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 7 of 14



   Deficiency. As Mr. Craig will explain in more detail in his motions to dismiss, a

   prosecution for material omissions under § 1001(a)(1) requires the government to prove a

   legal duty to disclose the information omitted. E.g., United States v. Safavian, 528 F.3d

   957, 964 (D.C. Cir. 2008). The duty must be based on “specific requirements for

   disclosure of specific information.” Id. As the Court of Appeals explained in Safavian,

   “[t]here is good reason for demanding such specificity: to comply with Fifth Amendment

   due process, the defendant must have fair notice . . . of what conduct is forbidden. . . .

   [T]his fair warning requirement prohibits application of a criminal statute to a defendant

   unless it was reasonably clear at the time of the alleged action that defendants’ actions

   were criminal.” Id. (citations and internal quotations omitted).

          This indictment does not identify any statute, regulation, publication or official

   pronouncement requiring Mr. Craig to provide any specific information to the FARA

   Unit, or to refrain from making material omissions when responding to a FARA Unit

   inquiry. If a specific provision of FARA obligated Mr. Craig to provide specific material

   information or to refrain from omitting material information in that context, Mr. Craig is

   entitled to know exactly what that provision says, so he can prepare his defense.

   Particulars required. The government should identify each instance when Mr. Craig

   should have provided material information to the FARA Unit and failed to do so, what

   specific omitted material information should have been provided on that occasion, and

   what provision of law obligated him to provide that information.

3. Allegation. “On or about June 3, 2013, CRAIG sent his and the Law Firm’s formal
   response to the FARA Unit. CRAIG’s letter contained the following material false and
   misleading statements and omissions:

             The letter stated that ‘the law firm on December 12-13, 2012 provided a copy
              of the report to (1) [Tymoshenko’s legal team]; (2) [a representative of the


                                            7
     Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 8 of 14



              Private Ukrainian]; (3) [Reporter 1]’ and the two publications with which the
              Law Firm had communicated after the Report’s release.
             CRAIG claimed that ‘[t]he law firm viewed the distribution of the report as a
              matter that would be decided by the Ukraine Government in its sole
              discretion. The law firm did not advise the Ministry on that issue.
             The letter also stated that the Law Firm ‘issued no statements and made no
              comments to the media, the public or government officials about the report.
              Gregory Craig provided brief clarifying statements about the report to
              [Reporter 1]’ and the other reporters to whom the firm had responded after the
              report’s public release. The letter continued, ‘One purpose of the statements
              was to correct misinformation that the media had received – and was reporting
              – from the Ministry of Justice and from the Tymoshenko legal team in
              Ukraine.’” ECF 1, at ¶ 56.

   Deficiency. Paragraph 56, read charitably, alleges each item in the bulleted

   subparagraphs qualifies as (1) a material false statement; (2) a material misleading

   statement; and/or (3) a material omission. But there is nothing to say which statement

   falls into which category. When it comes to the allegation of omissions, there is nothing

   other than a sweeping allegation that “CRAIG’s letter contained . . . omissions.” What

   material facts should have been included but were omitted? Similarly, it is impossible to

   discern what if any statement is allegedly false and what if any statement is alleged to be

   misleading, and whether there is a meaningful difference between the two.

   Particulars required. The government should particularize which of these statements is

   alleged to be false, which is misleading, what if any material fact was omitted, and what

   duty required disclosure of that material fact.

4. Allegation. “On or about October 9, 2013, CRAIG, the Law Firm’s General Counsel, and
   the partner with FARA experience met with the Chief of the FARA Unit and other FARA
   Unit staff. In that meeting, CRAIG made false and misleading statements to the FARA
   Unit that were consistent with the misleading statements he had made to the Law Firm’s
   General Counsel orally and in writing on or about September 19 and 20, 2013. In
   particular, CRAIG claimed that his media contacts were solely reactive and for the
   purpose of correcting misinformation.” ECF 1, at ¶ 61.




                                             8
           Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 9 of 14



         Deficiency. Paragraph 61 exemplifies the type of vague and confusing allegation that

         courts disfavor in false statement cases. Such vagueness may be understandable given the

         government’s inability to prove what was said at a meeting that occurred over five years

         ago without the benefit of notes, recordings, or transcripts. But that does not make the

         allegation adequate for a criminal charge. The sine qua non of a false statement

         indictment has to be the text of the false statement or, under a material omissions theory,

         the precise information that was omitted along with the reason why its disclosure was

         required. If the government cannot allege that information, it may not pursue the charge.3

                  Paragraph 61 is internally inconsistent. It alleges that Mr. Craig “made false and

         misleading statements” to the FARA Unit that were “consistent with” the “misleading

         statements” he allegedly made to his law firm. So were the statements to the FARA Unit

         false or were they misleading? And if they were misleading, why?

                  Paragraph 61 is hopelessly vague. What does it mean for someone to make a

         statement that is “consistent with” another statement? For instance, the statement “we did

         not disseminate the report to the news media” is consistent with “we did not disseminate

         the report to the news media but I did ask one reporter if he wanted a copy.” In each

         case, a government witness could truthfully say that “Mr. Craig told us he did not

         disseminate the report to the news media.” The details matter here when the

         government’s theory itself seems to hinge on details – that were likely unimportant at the

         time – about the precise circumstances in which a journalist obtained a copy of the report,

         and why, and what Mr. Craig said about those topics ten months later. The intended

         meaning of statements made during the October 9, 2013 meeting, and their truth or

3
  See, e.g., D.C. R. Prof’l Cond. 3.8(b)-(c) (prosecutor shall not: file or maintain charge “that the prosecutor knows
is not supported by probable cause,” or “[p]rosecute to trial a charge that the prosecutor knows is not supported by
evidence sufficient to establish a prima facie showing of guilt.”).

                                                          9
 Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 10 of 14



falsity, will depend on the context in which a statement was made, including particularly

whether the statement came in response to a question or questions from the FARA Unit.

       Indeed, a key difference between the statements made to the law firm and those

made to the FARA Unit is that the latter were made orally and were likely part of a

colloquy. Mr. Craig’s alleged false statements during the meeting were made in response

to inquiries from the FARA Unit concerning his conduct and that of his firm. The

questions asked, as well as the answers given, are critical to the false statement

allegation. See United States v. Subeh, 2006 U.S. Dist. Lexis 2611, at *79 (W.D.N.Y.

Jan. 24, 2006) (magistrate judge report ordering bill of particulars requiring government

to set forth questions that elicited the allegedly false statements), aff’d, 2006 U.S. Dist.

Lexis 45514 (W.D.N.Y. July 5, 2006).

       Paragraph 61 does not indicate precisely which statements made to the FARA

Unit were “consistent with” statements made to the law firm or which statements to the

law firm they were “consistent with.” The paragraph does allege that Mr. Craig claimed

that his media contacts were solely reactive and for the purpose of correcting

misinformation. ECF 1, at ¶ 61. But paragraphs 59 and 60 of the indictment contain other

statements that the government alleges are “false and misleading,” and paragraph 61

might or might not encompass them. Further, paragraph 61 alleges that Mr. Craig made

misleading statements to the law firm’s general counsel “orally and in writing on or about

September 19 and 20, 2013,” and that his false and misleading statements to the FARA

Unit were consistent with these statements. But paragraphs 60 and 61 never identify any

oral statement, false or true, that Mr. Craig made to Skadden’s general counsel, so Mr.

Craig has no idea what the government intends to prove that he said.



                                        10
    Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 11 of 14



   Particulars required. The government should identify each statement Mr. Craig made at

   the October 9 meeting that is alleged to have been false or misleading and, if the

   statement was in response to a question from the FARA Unit, the text of the question. For

   each statement alleged to be misleading, the government should explain why the

   statement was misleading.

5. Allegation. “On or about October 19, 2017, during an interview conducted by the Special
   Counsel’s Office, CRAIG repeated certain of the false and misleading statements he had
   made to the FARA Unit concerning the timing and nature [of] his contacts with
   journalists about the Report.” ECF 1, at ¶ 65.

   Deficiency. Because paragraph 65 is immaterial to the charge stated in Count One (false

   and misleading statements made to the FARA Unit in connection with a matter within its

   jurisdiction) and is prejudicial to the defendant, Mr. Craig intends to move to strike it as

   surplusage pursuant to Rule 7(d). If the Court declines to strike this paragraph (or to

   dismiss the indictment in toto), it should order the government to explain what statements

   are at issue. The government’s reference to “certain” false and misleading statements is

   impossibly vague; indeed, one wonders how the grand jury could have understood what

   charge it was authorizing. For purposes of this motion for a bill of particulars, however, it

   is enough to point out that the government may not present a list of statements and

   require the defendant to guess which ones the government contends were false. See Trie,

   21 F. Supp. 2d at 21. A fortiori, it cannot present a list of alleged false or misleading

   statements and require the defendant to guess which “certain” statements the government

   contends were actually repeated during an interview four years later. It is fantasy to

   suppose that the statements allegedly made in 2013 were repeated in precisely the same

   form in October 2017, and small differences in text can have major consequences in a

   false statements case. If the government really intends to pursue this skeletal allegation –


                                            11
 Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 12 of 14



which seems doubtful given its irrelevance to the rest of the indictment – the government

must provide enough detail to enable Mr. Craig to prepare his defense.

Particulars required. The government should identify each false and misleading

statement Mr. Craig allegedly made to the Special Counsel’s Office on October 19, 2017.

For each statement alleged to be misleading, the government should explain why the

statement was misleading.




                                       12
        Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 13 of 14



III.   CONCLUSION

       For the reasons stated, the Court should defer this motion until it rules on defendant’s

forthcoming motions to dismiss. If it denies those motions, the Court should order the

government to provide defendant with a bill of particulars providing the necessary information

described in Part II, B above.

Dated: April 30, 2019                           Respectfully submitted,


                                                William W. Taylor, III (D.C. Bar No. 84194)
                                                Ezra B. Marcus (D.C. Bar No. 252685)
                                                ZUCKERMAN SPAEDER LLP
                                                1800 M Street N.W. Suite 1000
                                                Washington, D.C. 20036
                                                Tel: (202) 778-1800
                                                Fax: (202) 822-8106
                                                E-mail: wtaylor@zuckerman.com
                                                        emarcus@zuckerman.com

                                                By: /s/ William J. Murphy
                                                ──────────────────────────
                                                William J. Murphy (D.C. Bar No. 350371)
                                                Adam B. Abelson (D.C. Bar No. 1011291)
                                                ZUCKERMAN SPAEDER LLP
                                                100 East Pratt Street, Suite 2440
                                                Baltimore, MD 21202
                                                Tel: (410) 332-0444
                                                Fax: (410) 659-0436
                                                E-mail: wmurphy@zuckerman.com
                                                        aabelson@zuckerman.com

                                                Attorneys for Defendant Gregory B. Craig




                                              13
        Case 1:19-cr-00125-ABJ Document 17 Filed 04/30/19 Page 14 of 14



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 30, 2019, the foregoing Defendant’s Motion for a

Bill of Particulars was served on counsel of record via the Court’s CM/ECF service.


                                                      /s/ Ezra B. Marcus
                                                   Ezra B. Marcus
          Case 1:19-cr-00125-ABJ Document 17-1 Filed 04/30/19 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

                v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                     Defendant.


                                          [PROPOSED]
                                            ORDER

         Upon consideration of Defendant Gregory B. Craig’s Motion for Bill of Particulars, it is

hereby

         ORDERED that the Motion is GRANTED. It is

         FURTHER ORDERED that, on or before ___________________, the government must

file a Bill of Particulars with respect to Paragraphs 50.b, 52, 56, 61, and 65 as requested in

Defendant’s Motion.




Dated: ________________________                      _________________________________
                                                     AMY BERMAN JACKSON
                                                     United States District Judge
